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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION
              ____________________________________________

ALBERT BEARDSLEY,              ) CAUSE NO. _____________
                               )
              Plaintiff,       )
                               )
vs.                            ) COMPLAINT AND JURY
                               ) DEMAND
MOTION AND FLOW CONTROL        )
PRODUCTS, INC.; and DOES 1-10, )
                               )
              Defendants.      )
         ____________________________________________

      COMES NOW Plaintiff, demanding trial by jury, and for his complaint against

the Defendants, alleges as follows:
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                                     PARTIES

                                          1.

       Plaintiff, Albert Beardsley, is a citizen of the United States and the State of

Montana, and a resident of Lincoln County, Montana.

                                          2.

       Defendant Motion and Flow Control Products, Inc. (MFCP), is a for profit

corporation organized under the laws of the State of Delaware, with its principal place

of business in the State of Colorado. MFCP conducts the business of manufacturing,

assembling, and selling hydraulic and industrial hoses and fittings in the State of

Montana. MFCP’s agent for service of process is located in Missoula County,

Montana.

                                          3.

       The true names and capacities of the Defendants named herein as Does 1-10

are unknown to Plaintiff, who therefore brings this action against said Defendants by

such fictitious names. Plaintiff will seek leave to amend the Complaint to state the

true names and capacities of Does 1-10 when the same have been ascertained,

together with further appropriate charging allegations. Plaintiff is informed and

believes and thereon alleges that each of the fictitiously named Defendants is

responsible in some manner for the occurrences herein alleged and that Plaintiff’s

damages as herein alleged were caused by said Defendants’ acts or omissions.


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Defendant Does 1-10 are natural persons, corporations, partnerships, joint ventures,

or other legal entities who negligently and/or unlawfully caused or contributed to

Plaintiff’s damages as herein alleged.

                            JURISDICTION AND VENUE

                                          4.

       This Court has original jurisdiction in this matter pursuant to 28 U.S.C. §

1332(a), because this is a civil action between citizens of different States where the

matter in controversy exceeds $75,000, exclusive of interest and costs.

                                          5.

       Plaintiff is a citizen of Montana, and MFCP is a citizen of Delaware and

Colorado.

                                          6.

       Plaintiff seeks damages which substantially exceed $75,000.

                                          7.

       Venue is proper in the Missoula division of this Court because MFCP is a

corporation incorporated in a State other than Montana, and MFCP’s registered agent

for service of process is located in Missoula County. Venue is also proper in the

Missoula division of this Court because Plaintiff resides in Lincoln County, within

the Missoula division.




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                                GENERAL ALLEGATIONS

                                          8.

       In 2017, Plaintiff was employed as a hot oiler operator by TNT Well Servicing

(TNT) in Sidney, Montana.

                                          9.

       In August, 2017, the hot oil unit Plaintiff typically operated for TNT required

a new fitting for a high pressure hose. TNT purchased a Parker 71 series fitting from

MFCP at its store located in Sidney, Montana. On August 31, 2017, MFCP

manufactured a connection between the fitting and a Parker high pressure hose on

TNT’s hot oil unit. The hose and fitting were rated to withstand at least 2,250 pounds

per square inch of pressure.

                                         10.

       On December 10, 2017, Plaintiff utilized the hot oil unit to provide hot oil

treatment on a well owned by one of TNT’s customers. The Parker fitting installed

by MFCP was connected to the well, and Plaintiff operated the unit to pump hot water

and hot oil into the well, in an effort to remove paraffin from the well equipment.

While operating the unit, Plaintiff increased the pressure in the hose to 1,800 pounds

per square inch after which the hose came disconnected from the fitting, causing a

catastrophic fire.




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                                           11.

       As a result of the failure of the fitting to maintain connection with the hose, and

the ensuing fire, Plaintiff suffered serious and permanent injuries as herein alleged.

                                           12.

       Each act of negligence or wrongful conduct alleged herein was committed by

an employee or agent of MFCP, who was acting within the course and scope of his

or her employment or agency with MFCP, and in furtherance of the business interests

of MFCP, and each negligent or wrongful act or omission alleged herein is imputable

to MFCP.

                                FIRST CAUSE OF ACTION

                                  (Negligence of MFCP)

                                           13.

       Plaintiff realleges paragraphs 1 through 12 above as paragraphs 1 through 12

of this First Cause of Action.

                                           14.

       MFCP had a duty to exercise reasonable care in the manner in which it

installed the Parker 71 series fitting on the Parker hose on TNT’s hot oil unit.

MFCP’s duty included the duty to exercise care for the safety of others, including

Plaintiff.




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                                          15.

       MFCP breached its duty by the manner in which it installed the fitting on the

hose. MFCP’s negligence, in addition to that herein alleged, consisted of:

       A.     Failing to properly and fully insert the hose into the fitting before

              crimping the fitting on the hose;

       B.     Failing to inspect or test the connection of the fitting to the hose after

              the installation, to ensure the installation was properly and safely

              performed;

       C.     Failing to provide and/or require the use of devices or procedures which

              could have ensured proper installation of the fitting and prevented

              Plaintiff’s injuries;

       D.     Failing to properly train employees charged with assembling high

              pressure fluid equipment capable of causing disastrous harm, including

              catastrophic injury and death, when not properly assembled;

       E.     Failing to properly supervise employees charged with assembling high

              pressure fluid equipment; and,

       F.     Violating applicable safety laws, regulations, internal rules and

              procedures, manufacturers instructions and standards, and applicable

              industry standards.




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                                          16.

       As a result of MFCP’s negligence, Plaintiff suffered serious and permanent

injuries and damages as herein alleged.

                            SECOND CAUSE OF ACTION

                                  (Strict Liability)

                                          17.

       Plaintiff realleges paragraphs 1 through 16 above as paragraphs 1 through 16

of this Second Cause of Action.

                                          18.

       At the time it sold the connected fitting to TNT, MFCP was in the business of

selling high pressure hoses and fittings, and was also in the business of manufacturing

connected fittings on high pressure fluid equipment. On or around August 31, 2017,

MFCP manufactured the connected fitting and sold the fitting with the connection to

TNT.

                                          19.

       MFCP expected the connected fitting it sold to TNT to reach TNT and its

employees, including Plaintiff, without substantial change in the condition in which

it was sold. The connected fitting did reach TNT and Plaintiff without change in the

condition in which it was sold. By placing the connected fitting upon the market,




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MFCP represented the product was safe and could be used safely for its intended

purpose.

                                          20.

       The connected fitting MFCP sold to TNT, for use by Plaintiff and others, was

in a defective condition and unreasonably dangerous to Plaintiff and other users of

the product. The connected fitting was unreasonably dangerous and defective based

on the manner in which MFCP manufactured the connection of the fitting to the hose.

                                          21.

       As a result of the defects and the unreasonably dangerous nature of the product

MFCP sold to TNT for Plaintiff’s use, Plaintiff suffered serious and permanent

injuries and damages as herein alleged.

                                THIRD CAUSE OF ACTION

                                  (Breach of Warranty)

                                          22.

       Plaintiff realleges paragraphs 1 through 21 above as paragraphs 1 through 21

of this Third Cause of Action.

                                          23.

       By distributing, selling, and installing the Parker 71 series fitting, MFCP

warranted that the fitting and installation were merchantable and reasonably fit and

suitable for their intended purpose and ordinary use. Plaintiff and others relied upon


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the skill and judgment of MFCP and its agents and employees, to ensure the fitting,

as installed on the hot oil unit, was safe for normal use.

                                          24.

       At the time of distribution, placement in the stream of commerce, and sale of

the fitting with installation by MFCP, the fitting, as installed, was not merchantable

and not suitable and reasonably fit for its general purpose and intended use.

                                          25.

       As a result of MFCP’s breach of warranty, Plaintiff suffered serious and

permanent injuries and damages as herein alleged.

                                     DAMAGES

                                          26.

       As a result of MFCP’s negligence, manufacture and sale of a defective and

unreasonably dangerous product, breach of warranty, and unlawful and wrongful

conduct as herein alleged, Plaintiff suffered serious and permanent injuries, including

second and third degree burns to his head, face, chest, back, arms, abdomen, and legs.

The burns covered approximately half of his body surface and have required

extensive treatment, including reconstruction on his head, face, and other body parts.

                                          27.

       As a result of MFCP’s negligence, manufacture and sale of a defective and

unreasonably dangerous product, breach of warranty, and unlawful and wrongful


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conduct as herein alleged, Plaintiff has incurred and will continue to incur substantial

medical expenses; he has experienced and will continue to experience physical and

mental pain and suffering; he has suffered and will continue to suffer a loss of his

personal services; he has suffered and will continue to suffer lost earnings and loss

of earning capacity; and he has suffered and will continue to suffer a loss of his

established course of life.

                                   JURY DEMAND

       Plaintiff demands trial by jury on all issues so triable.

                                 PRAYER FOR RELIEF

       Wherefore, Plaintiff prays for judgment against MFCP as follows:

       1.     For reasonable compensation for past and future medical and related

expenses;

       2.     For reasonable compensation for Plaintiff’s physical and mental pain and

suffering;

       3.     For reasonable compensation for Plaintiff’s loss of enjoyment of

established course and way of life;

       4.     For reasonable compensation for Plaintiff’s loss of personal services;

       5.     For reasonable compensation for Plaintiff’s past and future loss of

earnings and earning capacity;

       6.     For costs and disbursements incurred herein; and,


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       7.     For such other and further relief as the Court may deem just.

       DATED this 25th day of October, 2019.

                                           KOVACICH SNIPES JOHNSON, P.C.
                                           and
                                           ODEGAARD MILLER LAW, PLLC

                                           By:   /s/ Mark M. Kovacich
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